Case 1:19-cr-00257-DKC Document 1 Filed 05/22/19 Page 1 of 7

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IN THE UNITED: 'STATESDISTRICT COURT
FOR THE pace OF MARYLAND
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UNITED STATES OF AMERICA | lt OG MINAL NO. D KC / 9. Oa sn

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Lili” (Armed Bank Robbery, 18 U.S.C.
Neh 1788 2113(a), (d), (f}; Use, Carry and
“<! Brandish a Firearm During a Crime of
Violence, 18 U.S.C. § 924(c)()(a){ii);
Felon in Possession of a Firearm,
18 U.S.C. § 922(¢)(1); and Aiding and
Defendants. x Abetting, 18 U.S.C. § 2)

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RICHARD TINGLER,
DAVID GOLLAHON, and
RICHARD ADAMS,

+ + +

INDICTMENT

COUNT ONE
(Armed Bank Robbery)

The Grand Jury for the District of Maryland charges that:

On or about January 23, 2019, in the District of Maryland, the defendants,

RICHARD TINGLER,
DAVID GOLLAHON, and
RICHARD ADAMS,

did by force, violence and intimidation, take and attempt to take from the person and presence of
employees of PNC Bank, located at 3600 Boston Street, Baltimore, Maryland 21224, a bank, the
deposits of which were then insured by the Federal Deposit Insurance Corporation, $7,531.00 in
United States currency belonging to and in the care, custody, control, management and possession
of said bank, and did, in committing this offense, assault and put in jeopardy the life of a person
by the use of a dangerous weapon, to wit, a firearm.

18 U.S.C. §§ 2113(a), (d) & (f)
18 U.S.C. §2
Case 1:19-cr-00257-DKC Document1 Filed 05/22/19 Page 2 of 7

COUNT TWO
(Brandishing a Firearm during a Crime of Violence)

The Grand Jury for the District of Maryland further charges that:

On or about January 23, 2019, in the District of Maryland, the defendants,

RICHARD TINGLER,
DAVID GOLLAHON, and
RICHARD ADAMS,

did knowingly, intentionally and unlawfully use, carry, and brandish a firearm during and in
relation to a crime of violence for which each may be prosecuted in a court of the United States,
to wit: armed bank robbery, in violation of Title 18, United States Code, Section 2113(a), (d),
and (f), as set forth in Count One of this Indictment, which is incorporated here. .

18 U.S.C. § 924(c)(1)(ANGi)
18 U.S.C. §2
Case 1:19-cr-00257-DKC Document1 Filed 05/22/19 Page 3 of 7 ©

COUNT THREE 2
(Armed Bank Robbery)

The Grand Jury for the District of Maryland further charges that:

On or about February 1, 2019, in the District of Maryland, the defendants,

RICHARD TINGLER,
DAVID GOLLAHON, and
RICHARD ADAMS,

did by force, violence and intimidation, take and attempt to take from the person and presence of
employees of M&T Bank, located at 2934 O’Donnell Street Baltimore, Maryland 21224, a bank,
the deposits of which were then insured by the Federal Deposit Insurance Corporation, $43,802.00
in United States currency belonging to and in the care, custody, control, management and
possession of said bank, and did, in committing this offense, assault and put in jeopardy the life of
a person by the use of a dangerous weapon, to wit, a firearm.

18 U.S.C. §§ 2113(a), (d) & (f)
18 U.S.C. §2
Case 1:19-cr-00257-DKC Document 1 Filed 05/22/19 Page 4 of 7

COUNT FOUR
(Brandishing a Firearm during a Crime of Violence)

The Grand Jury for the District of Maryland further charges that:

On or about February 1, 2019, in the District of Maryland, the defendants,

RICHARD TINGLER,
DAVID GOLLAHON, and
RICHARD ADAMS,

did knowingly, intentionally and unlawfully use, carry, and brandish a firearm during and in
relation to a crime of violence for which each may be prosecuted in a court of the United States,
to wit: armed bank robbery, in violation of Title 18, United States Code, Section 2113(a), (d),
and (f), as set forth in Count Three of this Indictment, which is incorporated here.

18 U.S.C. § 924(c)(1)(A)Gi)
18 U.S.C. §2
Case 1:19-cr-00257-DKC Document1 Filed 05/22/19 Page 5 of 7

COUNT FIVE
(Felon in Possession of a Firearm)

The Grand Jury for the District of Maryland further charges that:
On or about February 1, 2019, in the District of Maryland, the defendant,
DAVID GOLLAHON,
did possess in and affecting interstate commerce a Ruger .380 caliber firearm with serial number
371044555, and ammunition, having previously been convicted of a crime punishable by
imprisonment for a term exceeding one year, and did so knowingly.

18 U.S.C. § 922(g)(1)
Case 1:19-cr-00257-DKC Document 1 Filed 05/22/19 Page 6 of 7

COUNT SIX
(Felon in Possession of a Firearm)

The Grand Jury for the District of Maryland further charges that:
On or about February 1, 2019, in the District of Maryland, the defendant,
RICHARD TINGLER,
did possess in and affecting interstate commerce a Sig-Sauer .45 caliber firearm with serial
number G341989, and ammunition, having previously been convicted of a crime punishable by
imprisonment for a term exceeding one year, and did so knowingly.

18 U.S.C. § 922(g)(1)
Case 1:19-cr-00257-DKC Document 1 Filed 05/22/19 Page 7 of 7
FIREARM FORFEITURE

Upon conviction of the offenses in violation of Sections 924(c) and 922(g) of Title 18,
United States Code, set forth in Counts Two, Four, Five, and Six of this Indictment, the

defendants,

RICHARD TINGLER, _
DAVID GOLLAHON, and
RICHARD ADAMS,

shall forfeit to the United States pursuant to Section 924(d) of Title 18, United States Code, and
Section 2461(c) of Title 28, United States Code, any firearms and ammunition involved in the

commission of the offenses.

28 U.S.C. § 2461(c)
18 U.S.C. § 924(d)

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Robert K.. Hur
United States Attorney
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SIGNATURE REDACTED:
Foreperson

Date: May a2 2019
